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November 9, 2021
                                                                                         VIA ELECTRONIC FILING
Honorable Leo I. Brisbois
U.S. Courthouse
515 West First Street
Duluth, MN 55802
brisbois_chambers@mnd.uscourts.gov

Re:      Scott Holman v. City of Cloquet, et al.
         Case No.: 20-CV-00224 (PJS/LIB)
         Our File No.: BE295-339

Dear Magistrate Judge Brisbois:

Defendants City of Cloquet, Lauri Ketola and Kerry Kolodge (together “City Defendants”)
respectfully request for a conference before the Court to resolve an ongoing discovery dispute. The
scope of this dispute is very narrow and the resolution is time sensitive. Therefore, the City
Defendants believe that it can be resolved without formal motion practice. If a speedy resolution is
not reached through an informal process, the City Defendants will proceed with formal motion
practice pursuant to Federal Rules of Civil Procedure Rule 26 and Local Rule 37.01. We appreciate
your attention to this matter.

To briefly summarize the dispute - on November 18, 2021, Plaintiff Holman is scheduled to depose
in pertinent part former Cloquet City Mayor Dave Hallback and former Cloquet City Councilmember
Steve Langley. Plaintiff has stated that he intends to ask the former elected officials about legal advice
that was provided to the City Council by licensed attorneys during closed Cloquet City Council
meetings. Because of strained relationships between the City of Cloquet and the former elected
officials, it is expected that the deponents will attempt to waive the City’s attorney-client privilege.
The scope of the dispute is limited to whether Plaintiff’s counsel is permitted to ask former elected
officials questions that are protected by the City’s attorney-client privilege.

The parties have discussed this matter but did not come to a resolution. The City Defendants believe
that they have strong legal bases for requesting a protective order prohibiting Plaintiff from requesting
information protected by the City’s attorney-client privilege because (1) the will of a City can only
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be expressed through a quorum of the City Council and therefore former elected officials cannot
waive the City’s attorney-client privilege and (2) the deposition of elected officials is improper.

First, the deponents, Hallback and Langley, cannot waive the City’s attorney-client privilege. The
will of a city can only be expressed through a quorum at an open meeting. Plymouth Foam Prod.,
Inc. v. City of Becker, Minn., 120 F.3d 153, 157 (8th Cir. 1997)(citing Jewel Belting Co. v. Village
of Bertha, 91 Minn. 9, 97 N.W. 424, 425 (Minn. 1903)). Under Minnesota Law a quorum of a
public body is the majority of elected voting members. Moberg v. Indep. Sch. Dist. No. 281, 336
N.W.2d 510, 517 (Minn. 1983)(citing Minn. Stat. § 123.33, subd. 5). Because the Cloquet City
Council has seven elected members (six councilmembers and a mayor), a quorum would require
four elected officials voting together. Neither Hallback nor Langely are current elected officials
so cannot be part of a quorum. In sum, only a quorum of the City Council may act on behalf of a
City, or in this case, waive the City’s attorney client privilege. Building off of this, the ability to
waive attorney client privilege rests with the current City and not the former elected officials.
Commodity Futures Trading Comm'n v. Weintraub, 471 U.S. 343, 349, 105 S. Ct. 1986, 1991
(1985)(discussing that a corporations current managers and directors had the power to waive attorney
client privilege); Diversified Indus., Inc. v. Meredith, 572 F.2d 596, 611 (8th Cir. 1977)(unless an
employee is seeking personal legal advice, a corporation, not the employee can assert attorney client
privilege); Keefe v. City of Minneapolis, CV 09-2941 DSD/SER, 2011 WL 13156805, at *3 (D.
Minn. Sept. 13, 2011)(applying attorney client privilege to a public entity, but finding that in that
instance the information was not protected due to the crime-fraud exception).

Next, this questioning should not be allowed because Plaintiff cannot inquire into the individual
mental impressions of elected officials. The deposition of individual elected officials is inappropriate.
Stone’s Auto Mart, Inc. v. City of St. Paul, 721 F. Supp. 206, 211 (D. Minn. 1989)(Court “will prohibit
plaintiffs from taking the depositions of the defendant council members unless they secure the
defendant’s consent or an appropriate order of this Court.”); Ellingson & Assoc., Inc. v. Keefe, 396
N.W.2d 694, 696-97 (Minn. Ct. App. 1986)(quoting Community Federal Savings & Loan v.
Federal Home Loan Bank, 96 F.R.D. 619, 621 (D.D.C. 1983)(“public policy requires that the time
and energies of public officials be conserved for the public’s business to as great an extent as may
be consistent with the ends of justice in particular cases”). Because Plaintiff’s questioning relates
to Hallback and Langley’s recollection of the City’s legislative process, this questioning should be
prohibited.

The City Defendants’ request for an informal resolution process will allow the resolution of this
dispute without necessitating amending the current scheduling order. According to the Court’s
October 27, 2020 Scheduling Order (ECF #37) all discovery must be completed in this matter by
November 30, 2021. In order to resolve this dispute without needing to amend the current
scheduling order, the City Defendants propose an informal resolution process through a remote
conference via zoom or telephone. The City Defendants propose that the parties should be
permitted to submit brief letters outlining their legal basis for their position prior to the conference.
The recommended length of these letters is no more than four pages. The City Defendants propose
that the Court then hold a brief fifteen minute informal conference to discuss this issue prior to
November 18, 2021. Thank you for your consideration..

Please feel free to contact me if any additional information is needed by the Court.
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Very truly yours,

KENNEDY & GRAVEN, CHARTERED


Michelle A. Christy
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MAC:rjo
